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 August 4, 2017

 Honorable Ann M. Donnelly
 United States District Judge
 United States Courthouse for the Eastern District
 225 Cadman Plaza
 Brooklyn, NY 11201

                               Re: Sorenson v. Simpson
                               15 cv 4614 (AMD)

 Dear Judge Donnelly,
                This letter is in response to the letter of Sandra Simpson moving for permission
 to take an interlocutory appeal of your honor’s decision on defendant’s motion to dismiss. Ms.
 Simpson, who is appearing pro se, argues, in effect, that your honor was incorrect in not
 granting her motion to dismiss based on the statute of limitations because you did not know
 that the federal action brought on her behalf by Mr. Sorenson had been dismissed more than
 six years before this action was filed. Ms. Simpson’s motion does not meet the standards for an
 interlocutory appeal as set forth in 28 U.S.C. 1292 (b).

         Plaintiff Sorenson acknowledges the dismissal of the Federal case but submits that his
 cause of action did not accrue, and therefore the statute did not begin to run until he received
 notice that Ms. Simpson had fired him from the case, which occurred approximately 2 years
 later. Between the dismissal of the Federal Court action, which was a prerequisite for seeking
 recompense from the administrative tribunal (“FCSC”) created to compensate victims of Libyan
 hostility, and Ms. Simpson’s discharging him, Mr. Sorenson worked tirelessly on Ms. Simpson’s
 behalf, gathering evidence to submit to the tribunal and filing no less than 6 separate claims for
 compensation before the FCSC.
         Ms. Simpson accepted all of this legal work and, in the end, never personally informed
 him that she had retained other counsel. (He learned of this when he called the FCSC to check
 on the status of a brief he had just filed on her behalf and they told him that she had retained
 Winston and Strawn to further pursue her claims.)
         Should your honor wish further briefing on this issue, plaintiff will be glad to submit a
 more substantial memorandum.


                                                      Respectfully submitted

                                                             (s)

                                                      Lorna B. Goodman
                                                      Attorney for Plaintiff Sorenson
        Cc: Sandra Simpson
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